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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA                                                                                       I•

                                                                                                            11;
                                                                                                            II'
                                                                                                            Ji'
                  v.                                                          20 CR 661 (f:'.M)
                                                                                          I

                                                                                ORDER                       I
                                                                                                            I'
 AMIR BRUNO ELMAANI,

                               Defendant.                                                                   i'
                                                                                                            I
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                                                                                                            I




 McMahon, J.:                                                                                           i
                                                                                                        I
                                                                                                       i
                                                                                                       !I
         The Court will hold a remote status conference on Tuesday, November 2;2021, at 12:30

 p.m., via the Teams video conference platform. The parties have received an e7/lil with the
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 Teams link and instructions on how to participate.                               ·               11


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         This will be an open proceeding-the press and the public (including defendant's family
                                                                                                  II
 members) are welcomed to listen to the proceeding via telephone, but will not He" allowed to
                                                                                                  I"
                                                                                                  I
 speak. The public call-in number is 888-363-4749; the access number to be en,Fred when
                                                                                jl.
 prompted is 9054506. Video or audio recording of the conference is pro!'iibitedhy law.

 November 2, 2021



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                                                                                             Ii
                                                       Colleen McMahon
                                                       District Court Judge
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